Case 3:17-cv-09098-BRM-LHG Document 46 Filed 12/20/19 Page 1 of 2 PageID: 156



                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
DEBORAH GLENN,                       :
                                     :
                   Plaintiff,        :
      v.                             :   Case No. 3:17-cv-9098-BRM-LHG
                                     :
JUNE STERN, et al.                   :
                                     :                 ORDER
                   Defendants.       :
____________________________________:

       THIS MATTER is before the Court on Defendants’ letter filed December 19, 2019. (ECF

No. 45.) Defendants seek either an extension of the discovery schedule or leave to file a motion

to dismiss. (Id.) In support of their requests, Defendants cite an email communication sent on

behalf of Plaintiff on December 16, 2019, to the chambers of the Honorable Lois H. Goodman,

U.S.M.J., advising that Plaintiff would be unavailable for the status conference that was scheduled

for December 17, 2019, due to personal health reasons. The email also advises Plaintiff would be

unavailable for an “undetermined amount of time.”

       This case has a mounting record of case management challenges due to Plaintiff’s inability

to participate based on her personal health reasons. In-person Settlement Conferences were

cancelled on April 17 and 29, 2019. Three telephone status conference were adjourned or

cancelled on September 23, October 17, and December 17, 2019. Nevertheless, having reviewed

the docket and case’s history, the Court is reluctant to allow Defendants to move to dismiss in light

of Plaintiff’s pro se status and her need to address her health concerns. Accordingly, and for good

cause appearing,

       IT IS on this 20th day of December 2019,
Case 3:17-cv-09098-BRM-LHG Document 46 Filed 12/20/19 Page 2 of 2 PageID: 157



        ORDERED that the Clerk’s Office shall ADMINISTRATIVELY TERMINATE this

case; this administrative termination is without prejudice to Plaintiff’s right to re-activate the case

when she is able to proceed or Defendants’ right to seek leave to move for dismissal for failure to

prosecute at a later time; and it is further

        ORDERED that Plaintiff shall report in writing to the Court by March 20, 2020 as to her

ability to resume litigating this matter; and it is further

        ORDERED that the Clerk’s Office is instructed to mail a hardcopy of this letter to Plaintiff.


                                                /s/ Brian R. Martinotti
                                                BRIAN R. MARTINOTTI
                                                UNITED STATES DISTRICT JUDGE




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